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                            UNITED STATES D ISTRICT COURT
                            EASTERN DISTRICT O F N EW YO RK

                            PUES FA M ILY TRU ST IllA ,BY M ICH AEL PUES,                             lndex No.:11-CV-05537
                            EXECUTOR OF TI.1E ESTATE,
                                                                                                      PLAIN TIFF'S
                                                                           Plaintiftl                 PROPOSED JUDGM ENT
                                                            -   against-                                         F IL E D
                                                                                                             IN CLERK'S OFFICE
                                                                                                              U.S.DtSTRJCT COURT E.D.N.Y.
                            PA RNA S HOLDING S IN C.and LEV PARN AS,
                            IN D IVIDUA LLY .                                                                 *     Mlq 28 2215 *
                                                                           D efendants.                       LONG ISLAND O FFICE

                                       This action having been comm enced on Novem ber 14, 2011 by the filing of tht

                        Sum m ons and Com plaint and having been tried before this courton A pril 27, 2015, IT IS

                        HEREBY ORDERED,A DJUDGED,AND DECREED AS FOLLO W S:

                                       Thatas it pertains to Plalntifps causes ofaction sounding in fm udulent inducement of

                        contract,conversion,fraud,andunjustenrichment,theseclaimsarehcrebydismissed;
                                       ThatasitpertainstoPlaintiffscauseofactionsoundinginbreachofcontract,ludgment
                        ishereby granted in favorofPlaintiffin theamountof$350,000.00;and ilis

                                       ORDERED, ADJUDGED, AND DECREED that Plaintiff have judgmcnt against
                        Defendantsin the amountof$350,000.00 with interestat9% pursuantto C.P.L.R.j 5004 from
                        March 17,20l!,am ounting to$so'
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January 7,2019

Clerk ofCourtUSD C SDFL
701ClematisSt
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Re:PuesFam ilyTm stIRA,By M ichaelPues,ExecutoxoftheEstatev.ParnasH oldings,Inc.,and LevParnas,
lndividually;11-CV-05537;CertisedJudgmentfoTRe#skation inSouthernDistric'tofFlohda;

DearClerkofCourq
1am m itingtoregistertheabovereferencedjudgmentinthelocaldistrictcourt.1haveincludedacivilcoversheetandcheck
for$47.00.Pleasemailthecertifiedjudgmentandcoversheetto myomces,theaddressisintheheader,intheaddressed
envelopeprovided.                                                                             '
Sincerely,



Tony        dre,Es .
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